Case 1:12-cv-02578-JSA Document 78-3 Filed 08/21/13 Page 1 of 5

EXHIBIT 2
Case 1:12-cv-02578-JSA Document 78-3 Filed 08/21/13 Page 2 of 5
Page 1 of 4

Meghan Breen

From: Gorenberg, Kenneth [Kenneth.Gorenberg@btlaw.com]

Sent: Saturday, August 17, 2013 9:10 PM

To: Paul Burke

Ce: Eric R. Mull; Gallo, Thomas; Zipfel, Jacob; Meghan Breen; Kelly Wood
Subject: RE: GAOSIF v. PMA

Attachments: ED COSTNER resume 2013.pdf

Paul,

As you request, we will present Tom Findlay on Thursday at our Atlanta office.

To complete Ed Costner's expert report, | am attaching his CV and forwarding the following information
provided by Mr. Costner:

| have not published any articles in the last ten years.

In the past 4 years, | was deposed during 2012 in the case of the Mississippi Manufacturers
Association Workers Compensation Group v. CCMSI.

We have agreed that'l'will be compensated in this case on a time and expense basis. My billable rate
is $250/hr.
Mr. Costner's opinions would be further explained in deposition. As | understand it, you are foregoing the
opportunity to depose him:

Please feel free to call me on my mobile if you wish to discuss anything before the McCoy and Saulino
depositions on Monday and Tuesday.

Thanks.
Ken

Kenneth M. Gorenberg

Partner .

Barnes & Thornburg LLP °

One North Wacker Drive, Suite 4400
Chicago, IL 60606

312-214-5609 direct

847-922-8237 mobile

From: Paul Burke [mailto:BurkeP@deflaw.com]

Sent: Saturday, August 17, 2013 3:50 PM

To: Gorenberg, Kenneth

Cc: Eric R. Mull; Gallo, Thomas; Zipfel, Jacob; Meghan Breen; Kelly Wood
Subject: RE: GAOSIF v. PMA

Hey Ken,

At this point, we will be going ahead with the Board deposition as scheduled.

Thanks,

8/21/2013
Case 1:12-cv-02578-JSA Document 78-3 Filed 08/21/13

Paul

PAUL BURKE
PARTNER

 

x

 

|

Attorneys at Law | A Limited Liability Partnership | 880 West Peachtree St. NW | Atlanta, GA 30309
Mailing Address | Post Office Box .7600 | Atlanta, GA 30357-0600

Tel: 404.885.6310 | Fax: 404.876.0992 | Email: BurkeP@deflaw.com

About DEF. | Attorney Bio

-. |

 

 

 

 

 

 

From: Gorenberg, Kenneth [mailto:Kenneth.Gorenberg@btlaw.com]
Sent: Friday, August 16, 2013 9:58 AM

To: Paul Burke

Ce: Eric R. Mull; Gallo, Thomas; Zipfel, Jacob; Meghan Breen; Kelly Wood
Subject: RE: GAOSIF v. PMA

Paul,

Page 3 of 5 Page 2 of 4

As indicated several times over the past few weeks, attached please find a preliminary and tentative report by
GAOSIF’s actuary Ed Costner, which is expressly related to prior reports such as those produced by GAOSIF to
PMA much earlier in discovery. This report may be revised in the very near future. To clarify my earlier
description, Mr. Costner is an expert on his own actuarial work, which supports GAOSIF’s position on damages.
Mr. Costner remains available for deposition on Thursday, August 22 in Nashville or Atlanta, which seems

particularly sensible if you’ve concluded that you don’t need to depose Tom Findlay.

| would be happy to discuss this, the special master and CMC issues, or anything else with you today.

ad

Regards,
Ken

Kenneth M. Gorenberg

Partner :

Barnes & Thornburg LLP ;

One North Wacker Drive, Suite 4400
Chicago, IL 60606 :

Direct: (812) 214-5609

Fax: (312) 759-5646
kgorenberg@btlaw.com
www.btlaw.com

From: Paul Burke [mailto:BurkeP@deflaw.com]

8/21/2013
Case 1:12-cv-02578-JSA Document 78-3 Filed 08/21/13 Page 4 of 5
Page 3 of 4

Sent: Wednesday, August 07, 2013 2:49 PM

To: Gorenberg, Kenneth

Cc: Eric R. Mull; Gallo, Thomas; Zipfel, Jacob; Meghan Breen; Kelly Wood
Subject: Re: GAOSIF v. PMA

Ken,

As lam sure you anticipate, we will be objecting to the late identification of a new damages expert in multiple
grounds. Nonetheless, | look forward to talking to you tomorrow.

Paul

On Aug 7, 2013, at 3:43 PM, "Gorenberg, Kenneth" <Kenneth.Gorenberg@btlaw.com> wrote:

 

Paul,

Confirming the voice message | left for you a few minutes ago, GAOSIF will almost certainly be
offering its actuary, Ed Costner, as an additional expert on damages, which will be considerably
greater than $1.3 million. We anticipate sending his report next week and can offer him for
deposition on August 22 in Atlanta; we presume that works for you if you will forego the
deposition of Tom Findlay.

We would be happy to discuss this as well as the special master and CMC issues. Ill be leaving
Atlanta shortly and will be back in my Chicago office tomorrow.

Regards,

Ken

Kenneth M. Gorenberg

Partner

Barnes & Thornburg LLP

One North Wacker Drive, Suite 4400
Chicago, IL 60606

Direct: (312) 214-5609

Fax: (312) 759-5646
kgorenberg@btlaw.com

www.btlaw.com

CONFIDENTIALITY NOTICE: This email and any attachments are

for the exclusive and confidential use of the intended recipient. If
you are not the intended recipient, please do not read, distribute
or take action in reliance upon this message. If you have received
this in error, please notify us immediately by return email and
promptly delete this message and its attachments from your

computer system. We do not waive attorney-client or work product
privilege by the transmission of this message. TAX ADVICE

NOTICE: Tax advice, if any, contained in this e-mail does not
constitute a "reliance opinion" as defined in IRS Circular 230 and
may not be used to establish reasonable reliance on the opinion of
counsel for the purpose of avoiding the penalty imposed by Section
6662A of the Internal Revenue Code. The firm provides reliance
opinions only in formal opinion letters containing the signature of a
partner.

8/21/2013
Case 1:12-cv-02578-JSA Document 78-3 Filed 08/21/13 Page 5o0f5
Page 4 of 4

CONFIDENTIALITY NOTICE: This email and any attachments are

for the exclusive and confidential use of the intended recipient. If
you are not the intended recipient, please do not read, distribute
or take action in reliance upon this message. If you have received
this in error, please notify us immediately by return email and
promptly delete this message and its attachments from your

computer system. We do not waive attorney-client or work product
privilege by the transmission of this message. TAX ADVICE

NOTICE: Tax advice, if any, contained in this e-mail does not
constitute a "reliance opinion" as defined in IRS Circular 230 and
may not be used to-establish reasonable reliance on the opinion of
counsel for the purpose of avoiding the penalty imposed by Section
6662A of the Internal Revenue Code. The firm provides reliance
opinions only in formal opinion letters containing the signature of a
partner. /

CONFIDENTIALITY NOTICE: This email and any attachments are

for the exclusive and confidential use of the intended recipient. If
you are not the intended recipient, please do not read, distribute
or take action in reliance upon this message. If you have received
this in error, please notify us immediately by return email and
promptly delete this message and its attachments from your

computer system. We do not waive attorney-client or work product
privilege by the transmission of this message. TAX ADVICE

NOTICE: Tax advice, if any, contained in this e-mail does not
constitute a "reliance opinion" as defined in IRS Circular 230 and
may not be used to“establish reasonable reliance on the opinion of
counsel for the purpose of avoiding the penalty imposed by Section
6662A of the Internal Revenue Code. The firm provides reliance
opinions only in formal opinion letters containing the signature of a
partner. a

8/21/2013
